       Case 17-12835-mdc Doc Filed 02/06/24 Entered 02/06/24 08:53:51                                                Desc Main
  Fill in this information to identify the case:
                                        Document Page 1 of 18
  Debtor 1     ZAKIYYAH L SULUKI

  Debtor 2
  (Spouse, if filing)

  United States Bankruptcy Court for the: Eastern District of Pennsylvania

  Case number 17-12835-mdc




 Form 4100R
 Response to Notice of Final Cure Payment                                                                                         10/15
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.


  Part 1:      Mortgage Information

  Name of Creditor: WELLS FARGO BANK, N.A., as Trustee for Park Place Securities, Inc.                         Court claim no. (if known):7
 Asset-Backed Pass-Through Certificates Series 2005-WHQ1
  Last 4 digits of any number you use to identify the debtor’s account: 1191

  Property address:          6232 Larchwood Ave
                             Number Street
                             Philadelphia, PA 19143
                             City      State    ZIP Code


  Part 2:      Prepetition Default Payments

  Check one:
     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
     on the creditor’s claim.
     Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
     on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
     of this response is:                                                                                              $ _______________


  Part 3:      Postpetition Mortgage Payment

  Check one:

     Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
     the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

      The next postpetition payment from the debtor(s) is due on: __________
                                                                             MM/DD/YYYY


     Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
     of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

      Creditor asserts that the total amount remaining unpaid as of the date of this response is:

      a.     Total postpetition ongoing payments due:                                                                  (a) $ 1,035.79
             Missing 12/01/2023-02/01/2023 fees in the amount of $1455.78 less suspense in the amount of $419.99.

      b.     Total fees, charges, expenses, escrow, and costs outstanding:                                            +(b) $ 550.00
             Missing PPFN (06.04.2020 and 10.01.2020) fee in the amount of $550 total

      c. Total. Add lines a and b.                                                                                     (c) $ 1,585.79

       Creditor asserts that the debtor(s) are contractually
       obligated for the postpetition payment(s) that first became                   12/01/2023
       due on:                                                                         MM/DD/YYYY
        Case 17-12835-mdc                        Doc          Filed 02/06/24 Entered 02/06/24 08:53:51                               Desc Main
                                                              Document      Page 2 of 18

 Debtor1     ZAKIYYAH L SULUKI                                                                 Case number (if known) 17-12835-mdc
                First         Middle                Last



Part 4:     Itemized Payment History


 If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
 debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
 the creditor must attach an itemized payment history disclosing the following amounts from the date of the
 bankruptcy filing through the date of this response:
  all payments received;
  all fees, costs, escrow, and expenses assessed to the mortgage; and
  all amounts the creditor contends remain unpaid.




Part 5:     Sign Here


 The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
 proof of claim.

 Check the appropriate box::
     I am the creditor.
     I am the creditor’s authorized agent.



I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.
Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.


           /s/Andrew Spivack
                 Signature
                                                                                             Date 02/06/2024



Print            Andrew Spivack                                                         _        Title   Attorney                       _
                 First Name                     Middle Name       Last Name




Company          Brock & Scott, PLLC                                                    _



If different from the notice address listed on the proof of claim to which this response applies:



Address          3825 Forrestgate Dr._
                 Number                Street



                 Winston-Salem, NC 27103
                 City                                             State           ZIP Code


Contact phone    844-856-6646 Email P A B K R @ b r o c k a n d sc o t t. c o m
       Case 17-12835-mdc       Doc     Filed 02/06/24 Entered 02/06/24 08:53:51           Desc Main
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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                      Philadelphia Division


 IN RE:
 ZAKIYYAH L SULUKI                                     Case No. 17-12835-mdc
                                                       Chapter 13
 WELLS FARGO BANK, N.A., as Trustee for Park
 Place Securities, Inc. Asset-Backed Pass-Through
 Certificates Series 2005-WHQ1,
         Movant

 vs.

 ZAKIYYAH L SULUKI ,
      Debtor




                                       CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Response to Notice of
Final Cure Payment has been electronically served or mailed, postage prepaid on this day to the following:

Via Electronic Notice:

Michael I. Assad, Debtor's Attorney
1500 Walnut St
Ste 900
Philadelphia, PA 19102
Mail@Cibiklaw.Com

Michael A. Cibik, Debtor's Attorney
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
Mail@Cibiklaw.Com


Kenneth E. West, Bankruptcy Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107
      Case 17-12835-mdc        Doc       Filed 02/06/24 Entered 02/06/24 08:53:51   Desc Main
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Office of the U.S. Trustee, US Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107


Via First Class Mail:

Zakiyyah L Suluki
4426 Overbrook Ave
Philadelphia, PA 19131



Date: February 6, 2024
                                             /s/Andrew Spivack
                                             Andrew Spivack, PA Bar No. 84439
                                             Matthew Fissel, PA Bar No. 314567
                                             Mario Hanyon, PA Bar No. 203993
                                             Ryan Starks, PA Bar No. 330002
                                             Jay Jones, PA Bar No. 86657
                                             Attorney for Creditor
                                             BROCK & SCOTT, PLLC
                                             3825 Forrestgate Drive
                                             Winston Salem, NC 27103
                                             Telephone: (844) 856-6646
                                             Facsimile: (704) 369-0760
                                             E-Mail: PABKR@brockandscott.com
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Reconciliation Date:                                              NOPC Effective Date Amount               NOPC Filed Date
Name:                   Zakiyyah L Suluki                                    12/1/2018 $          335.64
BK Case Number:            17-12835                                          12/1/2019 $          397.75
Filing Date:              04/24/2017                                         12/1/2020 $          400.70
Post First Due:             5/1/2017                                         12/1/2021 $          380.09
Agreed Order Date                                                            12/1/2023 $          485.26
Amounts in Order



Post-Petition Due      Date Received        Amount Received       Amount Applied        Pmt per NOPC       Suspense Application Suspense Balance Comments
          5/1/2017              6/21/2017 $              300.00   $            299.97                      $               0.03 $         0.03
          6/1/2017              7/17/2017 $              325.00   $            299.97                      $              25.03 $        25.06
          7/1/2017              9/18/2017 $              300.03   $            299.97                      $               0.06 $        25.12
          8/1/2017              9/18/2017 $              299.97   $            299.97                      $                -    $       25.12
          9/1/2017             12/15/2017 $              300.03   $            299.97                      $               0.06 $        25.18
         10/1/2017             12/15/2017 $              299.97   $            299.97                      $                -    $       25.18
                               12/21/2017 $              600.00   $               -                        $             600.00 $       625.18
         11/1/2017             12/21/2017                         $            299.97                      $            (299.97) $      325.21
         12/1/2017             12/21/2017                         $            299.97                      $            (299.97) $       25.24
                                2/20/2018 $              467.58   $               -                        $             467.58 $       492.82
         1/1/2018               2/20/2018 $                 -     $            299.97                      $            (299.97) $      192.85
                                3/20/2018 $              290.00   $               -                        $             290.00 $       482.85
         2/1/2018               3/20/2018 $                 -     $            299.97                      $            (299.97) $      182.88
                                 5/6/2018 $              300.00   $               -                        $             300.00 $       482.88
         3/1/2018                5/6/2018 $                 -     $            299.97                      $            (299.97) $      182.91
         4/1/2018               11/5/2018 $              330.06   $            299.97                      $              30.09 $       213.00
         5/1/2018               11/5/2018 $              299.97   $            299.97                      $                -    $      213.00
         6/1/2018               11/5/2018 $              299.97   $            299.97                      $                -    $      213.00
         7/1/2018               11/5/2018 $              299.97   $            299.97                      $                -    $      213.00
         8/1/2018               11/5/2018 $              299.97   $            299.97                      $                -    $      213.00
         9/1/2018               11/5/2018 $              299.97   $            299.97                      $                -    $      213.00
                                2/25/2019 $            1,608.00   $               -                        $           1,608.00 $     1,821.00
         10/1/2018              2/25/2019 $                 -     $            299.97                      $            (299.97) $    1,521.03
         11/1/2018              2/25/2019 $                 -     $            299.97                      $            (299.97) $    1,221.06
         12/1/2018              2/25/2019 $                 -     $            335.64                      $            (335.64) $      885.42
         1/1/2019               2/25/2019 $                 -     $            335.64                      $            (335.64) $      549.78
         2/1/2019               2/25/2019 $                 -     $            335.64                      $            (335.64) $      214.14
                                 3/8/2019 $              335.00   $               -                        $             335.00 $       549.14
         3/1/2019                3/8/2019 $                 -     $            335.64                      $            (335.64) $      213.50
         4/1/2019               5/22/2019 $              375.00   $            335.64                      $              39.36 $       252.86
         5/1/2019               7/22/2019 $              336.00   $            335.64                      $               0.36 $       253.22
         6/1/2019               8/13/2019 $              250.00   $            335.64                      $             (85.64) $      167.58
                                8/16/2019 $              150.00   $               -                        $             150.00 $       317.58
                                9/27/2019 $              420.00   $               -                        $             420.00 $       737.58
         7/1/2019               9/30/2019 $                 -     $            335.64                      $            (335.64) $      401.94
                               11/21/2019 $              800.00   $               -                        $             800.00 $     1,201.94
         8/1/2019              11/22/2019 $                 -     $            335.64                      $            (335.64) $      866.30
         9/1/2019              12/18/2019 $                 -     $            335.64                      $            (335.64) $      530.66
                                1/13/2020 $              600.00   $               -                        $             600.00 $     1,130.66
         10/1/2019              1/14/2020 $                 -     $            335.64                      $            (335.64) $      795.02
         11/1/2019              1/15/2020 $                 -     $            335.64                      $            (335.64) $      459.38
                                 3/5/2020 $              397.00   $               -                        $             397.00 $       856.38
         12/1/2019               3/6/2020 $                 -     $            397.75                      $            (397.75) $      458.63
                                3/25/2020 $              397.75   $               -                        $             397.75 $       856.38
         1/1/2020               3/26/2020 $                 -     $            397.75                      $            (397.75) $      458.63
                                4/29/2020 $              400.00   $               -                        $             400.00 $       858.63
         2/1/2020               4/30/2020 $                 -     $            397.75                      $            (397.75) $      460.88
                                 6/2/2020 $              400.00   $               -                        $             400.00 $       860.88
         3/1/2020                6/3/2020 $                 -     $            397.75                      $            (397.75) $      463.13
         4/1/2020               7/15/2020 $              405.00   $            397.75                      $               7.25 $       470.38
                                10/8/2020 $               36.00   $               -                        $              36.00 $       506.38
                                10/8/2020 $            1,000.00   $               -                        $           1,000.00 $     1,506.38
                                10/8/2020 $            1,207.00   $               -                        $           1,207.00 $     2,713.38
         5/1/2020               10/9/2020 $                 -     $            397.75                      $            (397.75) $    2,315.63
         6/1/2020              10/12/2020 $                 -     $            397.75                      $            (397.75) $    1,917.88
         7/1/2020              10/13/2020 $                 -     $            397.75                      $            (397.75) $    1,520.13
         8/1/2020              10/14/2020 $                 -     $            397.75                      $            (397.75) $    1,122.38
         9/1/2020              10/15/2020 $                 -     $            397.75                      $            (397.75) $      724.63
         10/1/2020             10/16/2020 $                 -     $            397.75                      $            (397.75) $      326.88
                               10/19/2020 $              400.00   $               -                        $             400.00 $       726.88
         11/1/2020             10/20/2020 $                 -     $            397.75                      $            (397.75) $      329.13
                                11/9/2020 $              400.00   $               -                        $             400.00 $       729.13
         12/1/2020             11/10/2020 $                 -     $            400.37                      $            (400.37) $      328.76
                               11/30/2020 $              400.00   $               -                        $             400.00 $       728.76
         1/1/2021               12/1/2020 $                 -     $            400.37                      $            (400.37) $      328.39
                                 3/5/2021 $              500.47   $               -                        $             500.47 $       828.86
         2/1/2021                3/8/2021 $                 -     $            400.37                      $            (400.37) $      428.49
                                3/16/2021 $              460.37   $               -                        $             460.37 $       888.86
         3/1/2021               3/17/2021 $                 -     $            400.37                      $            (400.37) $      488.49
         4/1/2021               3/18/2021 $                 -     $            400.37                      $            (400.37) $       88.12
                                 05/20/21 $              400.37   $               -                        $             400.37 $       488.49
         5/1/2021                05/21/21 $                 -     $            400.37                      $            (400.37) $       88.12
                                 06/09/21 $              400.37   $               -                        $             400.37 $       488.49
         6/1/2021                06/10/21 $                 -     $            400.37                      $            (400.37) $       88.12
                                 07/15/21 $              400.37   $               -                        $             400.37 $       488.49
         7/1/2021                07/16/21 $                 -     $            400.37                      $            (400.37) $       88.12
                                 08/25/21 $              400.37   $               -                        $             400.37 $       488.49
         8/1/2021                08/26/21 $                 -     $            400.37                      $            (400.37) $       88.12
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                               09/20/21 $        401.00   $      -     $       401.00 $      489.12
     9/1/2021                  09/21/21 $           -     $   400.37   $      (400.37) $      88.75
                               10/11/21 $        400.37   $      -     $       400.37 $      489.12
    10/1/2021                  10/12/21 $           -     $   400.37   $      (400.37) $      88.75
                               11/29/21 $        400.00   $      -     $       400.00 $      488.75
    11/1/2021                  11/30/21 $           -     $   400.37   $      (400.37) $      88.38
                               12/13/21 $        400.00   $      -     $       400.00 $      488.38
    12/1/2021                  12/14/21 $           -     $   392.67   $      (392.67) $      95.71
                               01/18/22 $        392.67   $      -     $       392.67 $      488.38
     1/1/2022                  01/19/22 $           -     $   392.67   $      (392.67) $      95.71
                               02/14/22 $        393.00   $      -     $       393.00 $      488.71
     2/1/2002                  01/02/00 $           -     $   392.67   $      (392.67) $      96.04
                               04/15/22 $        400.00   $      -     $       400.00 $      496.04
     3/1/2022                  04/18/22 $           -     $   392.67   $      (392.67) $     103.37
                               05/17/22 $        400.00   $      -     $       400.00 $      503.37
     4/1/2022                  05/18/22 $           -     $   392.67   $      (392.67) $     110.70
                               06/14/22 $        400.00   $      -     $       400.00 $      510.70
    5/1/2022                   10/04/22 $      1,452.65   $   392.67   $     1,059.98 $    1,570.68
    6/1/2022                   10/04/22 $           -     $   392.67   $      (392.67) $   1,178.01
    7/1/2022                   10/04/22 $           -     $   392.67   $      (392.67) $     785.34
    8/1/2022                   10/04/22 $           -     $   392.67   $      (392.67) $     392.67
    9/1/2022                   10/04/22 $           -     $   392.67   $      (392.67) $        -
    10/1/2022                  11/15/22 $        410.17   $   410.17   $          -    $        -     $17.50 Applied to late charges
                               01/09/23 $        785.34   $      -     $       785.34 $      785.34
    11/1/2022                  01/10/23 $           -     $   392.67   $      (392.67) $     392.67
                               02/06/23 $        500.00   $      -     $       500.00 $      892.67
    12/1/2022                  02/07/23 $           -     $   419.99   $      (419.99) $     472.68
    1/1/2023                   02/08/23 $           -     $   419.99   $      (419.99) $      52.69
                               03/06/23 $        844.25   $      -     $       844.25 $      896.94
     2/1/2023                  03/07/23 $           -     $   419.99   $      (419.99) $     476.95
     3/1/2023                  03/08/23 $           -     $   419.99   $      (419.99) $      56.96
                               06/05/23 $        839.98   $      -     $       839.98 $      896.94
     4/1/2023                  06/06/23 $           -     $   419.99   $      (419.99) $     476.95
     5/1/2023                  06/07/23 $           -     $   419.99   $      (419.99) $      56.96
                               07/03/23 $        400.00   $      -     $       400.00 $      456.96
     6/1/2023                  07/05/23 $           -     $   419.99   $      (419.99) $      36.97
                               10/05/23 $      1,200.00   $      -     $     1,200.00 $    1,236.97
     7/1/2023                  10/06/23 $           -     $   419.99   $      (419.99) $     816.98
     8/1/2023                  10/11/23 $           -     $   419.99   $      (419.99) $     396.99
                               11/21/23 $        419.99   $      -     $       419.99 $      816.98
     9/1/2023                  11/22/23 $           -     $   419.99   $      (419.99) $     396.99
                               12/11/23 $        441.01   $      -     $       441.01 $      838.00
    10/1/2023                  12/12/23 $           -     $   419.99   $      (419.99) $     418.01
                               12/26/23 $        421.97   $      -     $       421.97 $      839.98
    11/1/2023                  12/27/23 $           -     $   419.99   $      (419.99) $     419.99
    12/1/2023        Due



 Post-Petition Due         Amount
    12/1/2023        $          485.26
     1/1/2024        $          485.26
     2/1/2024        $          485.26
                     $        1,455.78
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                                                                                    06/04/20 08:53:51
                                                                                             18:46:33                        Desc Main
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                                                            Document Page  Page71of
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                                                                                    5
Fill in this information to identify the case:
Debtor 1               ZAKIYYAH L. SULUKI
Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:     EASTERN                    District of PA
                                                                                (State)
Case Number               17-12835 MDC




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                   12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor:            WELLS FARGO BANK, N.A., AS TRUSTEE                  Court claim no. (if known):            7
                             FOR THE POOLING AND SERVICING
                             AGREEMENT DATED AS OF FEBRUARY 1,
                             2005 PARK PLACE SECURITIES, INC.
                             ASSET-BACKED PASS-THROUGH
                             CERTIFICATES SERIES 2005-WHQ1

Last 4 digits of any number you use to
identify the debtor’s account:                       1191

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?

      No.
      Yes. Date of last notice:             March 1, 2019



Part 1:               Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow account
disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount, indicate that approval in
parentheses after the date the amount was incurred.
           Description                                                          Dates Incurred                                          Amount

1.        Late Charges
                                                                                                                             (1)   $
2.        Non-sufficient funds (NSF) fees
                                                                                                                             (2)   $
3.        Attorney fees                                                         02/05/2020 – Notice of Default                     $50.00
                                                                                02/17/2020 – Certification of Default        (3)   $200.00
4.        Filing fees and court costs
                                                                                                                             (4)   $
5.        Bankruptcy/Proof of claim fees
                                                                                                                             (5)   $
6.        Appraisal/Broker's price opinion fees
                                                                                                                             (6)   $
7.        Property inspection fees
                                                                                                                             (7)   $
8.        Tax advances (non-escrow)
                                                                                                                             (8)   $
9.        Insurance advances (non-escrow)
                                                                                                                             (9)   $
10.       Property preservation expenses. Specify:_________________
                                                                                                                            (10)   $
11.       Other. Specify:____________________________________
                                                                                                                            (11)   $
12.       Other. Specify:____________________________________
                                                                                                                            (12)   $
Debtor 1        Case   17-12835-mdc
                ZAKIYYAH L. SULUKI                Doc       Filed 02/06/24
                                                                  06/04/20 Entered
                                                                             Case Number02/06/24
                                                                                        06/04/20       18:46:33
                                                                                                       08:53:51
                                                                                        (if known) 17-12835 MDC                Desc Main
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  13.      Other. Specify:____________________________________
                                                                                                                              (13)   $
  14.      Other. Specify:____________________________________
                                                                                                                              (14)   $


  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Part 2:         Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.



X /s/ Thomas Song, Esquire                                                                            Date     June 4, 2020
   Signature


Print:                Thomas Song, Esq., Id. No.89834                                                  Title   Attorney
                    First Name            Middle Name                   Last Name




Company               Phelan Hallinan Diamond & Jones, LLP


Address               1617 JFK Boulevard, Suite 1400


                      Philadelphia, PA 19103

                                                                                                               Thomas.Song@phelanhallinan.
Contact Phone         215-563-7000                                                                   Email     com
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                                                  06/04/20 08:53:51
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                      Exhibit “A”
2/11/2020      Case 17-12835-mdc                             Doc      Filed 02/06/24
                                                                            06/04/20 Invoicing
                                                                                       Entered - 06/04/20 08:53:51
                                                                                                 02/06/24 18:46:33                                 Desc Main
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                                                                                                 18

                                                                                                                   Phelan Hallinan Diamond& Jones, LLP (PA) / Jennifer Taggart




                                                                                                                                                                            Logoff



   Edit     Save & Hold         Void     Review      Remit      Resolution   History eMsg     Create eMsg       Reminder     Referrals

   + Invoice Information

      Invoice #:                                                               Loan #:                                             Invoice Date:            2/6/2020
      Status:           Submitted                                              Acquisition Date:                                   Created Date:          2/7/2020
      Servicer:         PHH Mortgage                                                                                               Submitted Date:        2/7/2020
                                                                                                                                   Deadline Date:

   Invoice Type:          Bankruptcy Services - Chapter 13                    Contact:                  Eugene Jaskiewicz
   Vendor Ref #:                                                              Loan Type:                Conventional
   Department:           Bankruptcy                                           Borrower:                SULUKI ZAKIYYAH
   Filing State:          Pennsylvania                                        Address:                 6232 LARCHWOOD AVE
   Invoice ID:                                                                City, State:             PHILADELPHIA                        Pennsylvania
                                                                              Zip:                     19143
                                                                              Property Type:

   Referral Type:        Bankruptcy


      Submitted             1st Reviewed             Last Reviewed           Accepted               Approved           Chk Requested       Chk Confirmed       Days To Proc
      02/07/2020                                                                                                                                                       5

   Dept     Comments        Line Items         Exceptions    Edit Summary    Adjustment Summary         Quote   Service Request    Guideline   History    Payment    Chronology


                                                        Invoicing
      Fees         Total:              $50.00               Prev. $50.00             Exc. Loan Allow:                    Exc. Milestone:                    Exc Inv Allw:
                                                           Billed:
                                                        Invoicing
      Costs        Total:              $0.00                Prev. $0.00              Exc. Loan Allow:                                                       Exc Inv Allw:
                                                           Billed:
                                                                                     Exc. Loan Total
                                                                                     Fees/Costs
                                                                                     Allow:
                                                                                     Loan Total
                                                             Prev.
      Totals       Inv Amt:            $50.00                       $50.00           Fees/Costs          $110.00                                            Exc Inv Allw:
                                                            Billed:
                                                                                     Prev.Billed:

                                                                                     Add     Remove All

                                                                                                          Aff.                                                  Exc. IPA
      N A B         I       O                        Category                Subcategory                       Date Qty              Price        Billed
                                                                                                          Ind.                                                 Allow Status
                                                                        Agreed Order: Notice of
      N                          Edit     Delete Attorney Fees                                                  02/05/20 1           $50.00         $0.00
                                                                        Default/Stay Termination
      Service From Date: 02/05/2020                   Service To Date: 02/05/2020




                                                                                                                                                                                  1/1
010210303 Case 17-12835-mdc                 Doc            06/04/20 45
                                                     Filed 02/06/24   678985 02/06/24
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                Case 17-12835-mdc                  Doc      Filed 02/06/24
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                                                                                              19:51:28                          Desc Main
                                                            Document
                                                             Document Page Page12
                                                                                1 of 7
                                                                                     18
Fill in this information to identify the case:
Debtor 1               ZAKIYYAH L. SULUKI
Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:     EASTERN                    District of PA
                                                                                (State)
Case Number               17-12835 MDC




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                     12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor:            WELLS FARGO BANK, N.A., AS TRUSTEE                  Court claim no. (if known):         7
                             FOR THE POOLING AND SERVICING
                             AGREEMENT DATED AS OF FEBRUARY 1,
                             2005 PARK PLACE SECURITIES, INC.
                             ASSET-BACKED PASS-THROUGH
                             CERTIFICATES SERIES 2005-WHQ1

Last 4 digits of any number you use to
identify the debtor’s account:                       1191

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?

      No.
      Yes. Date of last notice:             June 4, 2020



Part 1:               Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow account
disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount, indicate that approval in
parentheses after the date the amount was incurred.
           Description                                                          Dates Incurred                                             Amount

1.        Late Charges
                                                                                                                                (1)   $
2.        Non-sufficient funds (NSF) fees
                                                                                                                                (2)   $
3.        Attorney fees                                                         06/04/2020 – Preparation/Filing of Notice of          $150.00
                                                                                Postpetition Mortgage Fees, Expenses, and
                                                                                Charges
                                                                                06/09/2020 – Plan Review                        (3)   $150.00
4.        Filing fees and court costs
                                                                                                                                (4)   $
5.        Bankruptcy/Proof of claim fees
                                                                                                                                (5)   $
6.        Appraisal/Broker's price opinion fees
                                                                                                                                (6)   $
7.        Property inspection fees
                                                                                                                                (7)   $
8.        Tax advances (non-escrow)
                                                                                                                                (8)   $
9.        Insurance advances (non-escrow)
                                                                                                                                (9)   $
10.       Property preservation expenses. Specify:_________________
                                                                                                                               (10)   $
11.       Other. Specify:____________________________________
                                                                                                                               (11)   $
Debtor 1        Case   17-12835-mdc
                ZAKIYYAH L. SULUKI                Doc      Filed 02/06/24
                                                                 10/01/20 Entered
                                                                            Case Number02/06/24
                                                                                       10/01/20       19:51:28
                                                                                                      08:53:51
                                                                                       (if known) 17-12835 MDC                      Desc Main
                                                           Document
                                                            Document Page Page13 2 of 7
                                                                                      18

  12.      Other. Specify:____________________________________
                                                                                                                                (12)   $
  13.      Other. Specify:____________________________________
                                                                                                                                (13)   $
  14.      Other. Specify:____________________________________
                                                                                                                                (14)   $


  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Part 2:         Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.



X /s/ Thomas Song, Esquire                                                                            Date     September 30, 2020
   Signature


Print:                Thomas Song, Esq., Id. No.89834                                                  Title   Attorney
                    First Name            Middle Name                   Last Name




Company               Phelan Hallinan Diamond & Jones, LLP


Address               1617 JFK Boulevard, Suite 1400


                      Philadelphia, PA 19103

                                                                                                               Thomas.Song@phelanhallinan.
Contact Phone         215-563-7000                                                                   Email     com
Case 17-12835-mdc   Doc   Filed 02/06/24
                                10/01/20 Entered 02/06/24
                                                   10/01/20 08:53:51
                                                            19:51:28   Desc Main
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                           Document Page Page14
                                              3 of 7
                                                   18




                      Exhibit “A”
        Case 17-12835-mdc                 Doc   Filed 02/06/24
                                                      10/01/20 Entered 02/06/24
                                                                         10/01/20 08:53:51
                                                                                  19:51:28                                Desc Main
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                                                 Document Page Page15
                                                                    4 of 7
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                                                 Phelan Hallinan Diamond & Jones,
                                                         1617 John F. Kennedy Blvd
                                                        Philadelphia, PA 19103 1814
                                                         Phone No: (215) 563-7000
                                                          Fax No: (215) 563-5534



                            Bankruptcy - Bankruptcy Services - Chapter 13 - INVOICE
PHH Mortgage                                                       Invoice #:
Andrea Jenkins                                                     Invoice Status:               ACH Confirmed
2001 Bishops Gate Blvd                                             Input By:                     Eugene Jaskiewicz
Mount Laurel, NJ 08054                                             Date Submitted:               6/5/2020
Re:                 SULUKI ZAKIYYAH                                Invoice Date:                 6/5/2020
                    6232 LARCHWOOD AVE
                                                                   Vendor Ref #:
                    PHILADELPHIA, PA 19143
                    1024                                           Vendor Code:                  FEDPHE
Loan #:
Loan Type:         Conventional                                    Payee Code:                   FFEDERMAN
Inv. ID / Cat. ID:     /                                           Type:                         Non Judicial
Cost Center:                                                       Referral Date                 6/4/2020
CONV Case No:
GSE Code:
                                                                   Acquisition Date:
GSE REO Rem. Code:
                                                                   Paid in Full Date:            N/A
                                                                   Foreclosure Removal           N/A
Original Mortgage Amount:   $69,350.00                             HiType
Litigation Status Code:                                            Class Code
Man Code:
BK Case No:         17-12835
BK Chapter:         13




Invoice ID:
Asset Number:
Outsourcer:

 SubmittedDate        1st Reviewed Date     Last Reviewed      Accepted Date           Approved Date     Chk Requested           Chk Confirmed
      6/5/2020            6/19/2020            6/19/2020                                 6/19/2020         6/19/2020               6/23/2020

 Fee Description(s)                                   W/H Aff.Ind Item Date          Qty    Item Price      Orig. Billed         Adjust           Net

 Attorney Fees - Post Petition Fee                                06/04/2020          1       $150.00           $150.00           $0.00      $150.00

      Note: NOTICE OF POST PETITION FEES (                )
      Service From Date: 6/4/2020                     Service To Date: 6/4/2020 12:00:00


                                                                                                         $150.00                 $0.00           $150.00




 Total:                                                                                                  $150.00                $0.00        $150.00

 Invoice Level Exceptions
 None


Invoice Level Comment
Please send our office a check in the amount indicated below. The Bankruptcy Fees and Costs listed below may be recoverable from the
borrower if a Notice of Fees, Expenses and Charges is filed in the Bankruptcy Case pursuant to Federal Rules of Bankr




  Execution Date Time: 09/29/2020 04:26:42 PM                                                                             Pages: 1/ 2
     Case 17-12835-mdc             Doc      Filed 02/06/24
                                                  10/01/20 Entered 02/06/24
                                                                     10/01/20 08:53:51
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                                             Document Page Page16
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                                                                     18

Payment information

Requested Date            Check/ACH#                Payment Date         Amount

06/19/2020                                          06/22/2020           $150.00

Category      Subcategory              Trans Code     Reason Code Caw Payee   Seq Code   Net Amount
                                                                  Code
Attorney Fees Post Petition Fee                                                          $150.00




    Excecution Date Time: 09/29/2020 04:26:42 PM                                                      Pages: 2/ 2
         Case 17-12835-mdc                 Doc   Filed 02/06/24
                                                       10/01/20 Entered 02/06/24
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                                                                     6 of 7
                                                                          18
                                                 Phelan Hallinan Diamond & Jones,
                                                         1617 John F. Kennedy Blvd
                                                        Philadelphia, PA 19103 1814
                                                         Phone No: (215) 563-7000
                                                          Fax No: (215) 563-5534



                              Bankruptcy - Bankruptcy Services - Chapter 13 - INVOICE
PHH Mortgage                                                       Invoice #:
Andrea Jenkins                                                     Invoice Status:               ACH Confirmed(Exc/Res)
2001 Bishops Gate Blvd                                             Input By:                     Eugene Jaskiewicz
Mount Laurel, NJ 08054                                             Date Submitted:               6/11/2020
Re:                 SULUKI ZAKIYYAH                                Invoice Date:                 6/11/2020
                    6232 LARCHWOOD AVE
                                                                   Vendor Ref #:
                    PHILADELPHIA, PA 19143
                    1024                                           Vendor Code:                  FEDPHE
Loan #:
Loan Type:         Conventional                                    Payee Code:                   FFEDERMAN
Inv. ID / Cat. ID:     /                                           Type:                         Non Judicial
Cost Center:                                                       Referral Date                 6/5/2020
CONV Case No:
GSE Code:
                                                                   Acquisition Date:
GSE REO Rem. Code:
                                                                   Paid in Full Date:            N/A
                                                                   Foreclosure Removal           N/A
Original Mortgage Amount:     $69,350.00                           HiType
Litigation Status Code:                                            Class Code
Man Code:
BK Case No:         17-12835
BK Chapter:         13




Invoice ID:
Asset Number:
Outsourcer:

 SubmittedDate        1st Reviewed Date      Last Reviewed     Accepted Date           Approved Date     Chk Requested           Chk Confirmed
      6/11/2020           6/24/2020             8/18/2020                                7/8/2020           7/8/2020               7/10/2020

 Fee Description(s)                                   W/H Aff.Ind Item Date          Qty    Item Price       Orig. Billed        Adjust           Net

 Attorney Fees - Review of Plan                                   06/09/2020          1       $150.00           $150.00           $0.00      $150.00

      Note: PLAN REVIEWED PERFORMED (                   )
      Service From Date: 6/9/2020                     Service To Date: 6/9/2020 12:00:00


                                                                                                         $150.00                 $0.00           $150.00




 Total:                                                                                                  $150.00                $0.00        $150.00

 Invoice Level Exceptions
 Possible Duplicate Invoice


Invoice Level Comment
Please send our office a check in the amount indicated below. The Bankruptcy Fees and Costs listed below may be recoverable from the
borrower if a Notice of Fees, Expenses and Charges is filed in the Bankruptcy Case pursuant to Federal Rules of Bankr




   Execution Date Time: 09/29/2020 04:26:42 PM                                                                            Pages: 1/ 2
     Case 17-12835-mdc             Doc      Filed 02/06/24
                                                  10/01/20 Entered 02/06/24
                                                                     10/01/20 08:53:51
                                                                              19:51:28               Desc Main
                                            Document
                                             Document Page Page18
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                                                                     18

Payment information

Requested Date           Check/ACH#                Payment Date         Amount

07/08/2020                                         07/09/2020           $150.00

Category      Subcategory             Trans Code     Reason Code Caw Payee   Seq Code   Net Amount
                                                                 Code
Attorney Fees Review of Plan                                                            $150.00




    Excecution Date Time: 09/29/2020 04:26:42 PM                                                     Pages: 2/ 2
